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15

16                             UNITED STATES DISTRICT COURT

17                         NORTHERN DISTRICT OF CALIFORNIA

18                                  SAN FRANCISCO DIVISION

19
20   URSULA FREITAS, individual, on behalf of    Case No. 3:19-cv-07270-WHA
     herself and others similarly situated,
21                                               DECLARATION OF JOY LEDYARD
                      Plaintiffs,                IN SUPPORT OF CRICKET
22                                               WIRELESS, LLC’s MOTION TO
            v.                                   ENFORCE TEXT-MESSAGE AND
23                                               ELECTRONIC-SIGNATURE
     CRICKET WIRELESS, LLC,                      ARBITRATION AGREEMENTS OF
24                                               POTENTIAL CLASS MEMBERS
                      Defendant.
25                                               Date: February 24, 2022
                                                 Time: 8:00 a.m.
26                                               Location: Courtroom 12, 19th Floor
                                                 Judge: Hon. William H. Alsup
27
                                                 Complaint Filed: November 4, 2019
28


                                                            DECLARATION OF JOY LEDYARD,
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 1   I, Joy Ledyard, declare as follows:
 2          1.      I have personal knowledge of the following facts, and if called as a witness I could

 3   and would testify competently as to their truth.

 4          2.      I am employed by iQmetrix USA Inc. as the Program Manager for the Cricket

 5   Wireless, LLC account.

 6          3.      iQmetrix is the vendor that Cricket uses to store electronic copies of receipts that

 7   are received through the payment terminals at Cricket-owned and Cricket-branded stores. For

 8   example, when a customer executes an electronic signature to accept Cricket’s Terms and

 9   Conditions by signing a signature-capture device at store, that electronic record is

10   contemporaneously sent automatically to iQmetrix to archive.

11          4.      In my role at iQmetrix, I am familiar with how, in the regular and ordinary course

12   of business, electronic records regarding receipts at Cricket stores during the relevant time period

13   from May 2017 to the present were created, stored, and may be retrieved.

14          5.      At Cricket’s request and under my supervision, and with approval from my

15   executive sponsor (Stacy Hamer, Vice President, Client Experience), iQmetrix staff have

16   searched for the electronic records of receipts from certain Cricket store transactions in which the

17   customer signed a signature-capture device to accept Cricket’s Terms and Conditions. The list of

18   transactions that iQmetrix staff searched is based upon transactions made by Cricket customers

19   who I understand are potential class members in this case.

20          6.      Using the customer’s name, state, and sales date, that search located signature

21   captures for 10,008 in-store transactions. A true and correct copy of those signature captures,

22   which were retrieved from iQmetrix’s archive, are attached hereto as Exhibit A.

23          7.      The fact that iQmetrix was unable to locate a signature capture for a particular

24   transaction does not mean that the customer did not actually engage in the transaction and sign

25   the store’s signature-capture device to accept Cricket’s Terms and Conditions. A variety of

26   scenarios could have taken place, including the misspelling (or omission) of a customer name,

27   address, or phone number by the sales representative, that might have prevented the signature

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                                                                       DECLARATION OF JOY LEDYARD,
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 1
     capture from a particular transaction from being archived in a manner that would allow it to be
 2
     found.
 3
              8.    Those 10,008 signature captures were executed by 5,622 unique Cricket account
 4
     owners. Attached hereto as Exhibit B is a list of the names, account numbers, and states of these
 5
     5,622 customers.
 6
              9.    Attached as Exhibit C (CRICKET4018905) is a true and correct copy of the
 7
     February 9, 2020 signature capture of Ursula Freitas from a Cricket store transaction, which I
 8
     retrieved from iQmetrix’s archive.
 9
                                                  [Signature page follows]
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                                                                      DECLARATION OF JOY LEDYARD,
                                                                         CASE NO. 3:19-CV-07270-WHA
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